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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

                                        §
MARIO A. GUARDADO AND MARIA             §
EVELIA GUARDADO,                        §
                                        §
         Plaintiffs,                    §
                                        §
                                        §
                                        §
v.                                      §    CIVIL ACTION NO. 3:14-CV-02641-P
                                        §
STATE FARM LLOYDS AND DION              §
MCKINLEY,                               §
                                        §
         Defendants.                    §
                                        §

             BRIEF IN SUPPORT OF RESPONSE IN OPPOSITION TO
     PLAINTIFFS’ MOTION TO COMPEL AND MOTION TO STRIKE/OVERRULE




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TO THE HONORABLE JUDGE OF THIS COURT:
           COMES NOW, Defendant State Farm Lloyds (“State Farm”) and files this Brief in

Support of State Farm’s Response in Opposition to Plaintiffs’ Motion to Compel and Motion to

Strike/Overrule:

                                         I.     INTRODUCTION

           1.         This first-party insurance dispute concerns whether Defendant State Farm Lloyds

(“State Farm”) adequately compensated Plaintiffs for certain hail and/or wind damages to their

property that allegedly occurred in Dallas County on or about June 13, 2012. 1 Based upon
Plaintiffs’ claims, discovery should focus on whether State Farm paid Plaintiffs’ insurance claim

pursuant to the terms and conditions of their insurance policy. Despite this fact, Plaintiffs have

served discovery requests 2 that exceed the scope of discovery permitted under Federal Rule of

Civil Procedure 26, and a Production Protocol 3 that ignores the plain language of Rule 34 (which

allows a producing party to produce in “reasonably usable” formats of its choice).

           2.         Now, Plaintiffs demand that the Court generally overrule all of State Farm’s

objections to all of Plaintiffs’ discovery requests, compel responses to five specific discovery

requests, and require compliance with Plaintiffs’ proposed Production Protocol. In support,

Plaintiffs cite a decision from this District, claiming that Magistrate Judge Ramirez overruled

State Farm’s objections and ordered production in response to two “identical” requests. 4

However, in that case Plaintiffs’ counsel withdrew a number of the requests at issue here,

withdrew their Production Protocol, and only submitted two significantly narrowed discovery

requests for consideration, which were hardly “identical” to those here. 5 Further, Plaintiffs


1
    See Pet., Dkt. 1-5 ¶¶ 12-15.
2
    Pls.’ Appendix, Dkt. 41-1, Ex. A thereto, at 009-014.
3
    Id. at 003-007.
4
    Pls.’ Br., Dkt. 42, at 11-12.
5
 See Cano et al. v. State Farm Lloyds et al., 3:14-cv-02720, Dkt. 44 (N.D. Tex. May 15, 2015) (App001-
010).



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neglect to mention that their proposed Production Protocol and a number of their discovery

requests are (actually) identical to those that have been repeatedly rejected by the Southern

District of Texas in several other essentially identical insurance actions. 6 Accordingly, State

Farm requests that the Court deny Plaintiffs’ Motion, limit discovery to information relevant to

the claims and defenses in this case, and allow State Farm to produce in “reasonably usable”

formats rather than being saddled with the unnecessary and onerous provisions of Plaintiffs’

intrusive “Production Protocol.”

                                II.   ARGUMENTS AND AUTHORITIES

A.        Legal Standard
          3.       Courts in the Fifth Circuit have long recognized that discovery must be

reasonably limited. Parties may generally obtain discovery so long as it is “relevant to any

party’s claim or defense. . . .” 7 Plaintiffs’ assertion, that they are entitled to discovery that
“appears reasonably calculated to lead to the discovery of admissible evidence,” is specious. 8

Under the Rules, discovery is focused on the information that is relevant and proportional to the

claims and defenses in the matter. Plaintiffs cannot compel more.


6
  See, Dizdar et al. v. State Farm Lloyds et al, 7:14-cv-523, Dkt. 20 (S.D. Tex. Jan. 7, 2015) (Alvarez, J.)
(granting protective order) (“Dizdar I,” App011-039); Dizdar et al. v. State Farm Lloyds et al., 7:14-cv-
402, Dkt. 20 (S.D. Tex. Jan. 21, 2015) (Alvarez, J.) (granting protective order); Order, Dkt. 18, Dizdar et
al. v. State Farm Lloyds et al., 7:14-cv-447, Dkt. 18 (S.D. Tex. Jan. 21, 2015) (granting protective order)
(Alvarez, J.).
7
    FED. R. CIV. P. 26(b)(1).
8
  Although courts—including the Fifth Circuit—have suggested that the scope of discovery extended to
information that “appears reasonably calculated to lead to the discovery of admissible evidence,” see, e.g.,
Mae v. Hurst, 613 F. App’x 314, 316-17 (5th Cir. 2015); McLeod, Alexander, Powel & Apffel, P.C. v.
Quarles, 894 F.2d 1482, 1484 (5th Cir. 1990), the Advisory Committee for the Federal Rules of Civil
Procedure has advised that the “reasonably calculated” language was never intended to define the scope
of discovery. See June 2014 Advisory Committee Report, at Appendix B-44 attached to the September
2014       Standing     Committee         Report,     available      at     http://www.uscourts.gov/rules-
policies/archives/committee-reports/reports-judicial-conference-september-2014. Instead, that language
was included in Rule 26 to clarify that relevant information is discoverable even if it is not admissible, for
example, because of hearsay. However, because the phrase “reasonably calculated” “continued to create
problems,” it will be struck from Rule 26(b)(1) following the December 1, 2015 amendments to the
Rules. Id.



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           4.      This focus is consistent with the ongoing concern expressed by the courts that

parties must be protected from excessive and disproportionate discovery:
           [T]he spirit of the rules is violated when advocates attempt to use discovery tools
           as tactical weapons rather than to expose the facts and illuminate the issues by
           overuse of discovery or unnecessary use of defensive weapons or evasive
           responses. All of this results in excessively costly and time-consuming activities
           that are disproportionate to the nature of the case, the amount involved, or the
           issues or values at stake. 9
As a result, the Federal Rules of Civil Procedure impose limits on discovery methods that may

be employed, and courts are encouraged to limit discovery if “the burden or expense of the

proposed discovery outweighs its likely benefit, considering the needs of the case, the amount in
controversy, the parties’ resources, the importance of the issues at stake in the action, and the

importance of the discovery in resolving the issues.” 10

           5.      As the Supreme Court of the United States has recognized, Federal Rule of Civil

Procedure 26’s “provisions create many options for the district judge,” including the ability to

“set the timing and sequence of discovery” 11 and to “forbid[ ] inquiry into certain matters, or

limit[ ] the scope of disclosure or discovery to certain matters.” 12 Plaintiffs’ Motion alleges that

State Farm’s objections are perfunctory and unjustified, but Plaintiffs have failed to provide any

specific reason that the information that they seek to compel is relevant to the claims and

defenses of the action. It is well-settled under Rule 37(a)(3) that if a party’s “discovery requests

appear facially objectionable in that they are overly broad or seek information that does not

appear relevant, the burden is on the movant to demonstrate how the requests are not




9
  Batson v. Neal Spelce Assocs., Inc., 112 F.R.D. 632, 642 (W.D. Tex. 1986) (quoting the drafters’
comments to the 1983 amendments to Rule 26).
10
     FED. R. CIV. P. 26(b)(2)(C)(iii).
11
     See Crawford-El v. Britton, 523 U.S. 574, 599 (1998).
12
     FED. R. CIV. P. 26(c)(1)(D).



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objectionable.” 13 “Mere speculation that information might be useful will not suffice; litigants

seeking to compel discovery must describe with a reasonable degree of specificity, the

information they hope to obtain and its importance to their case.” 14 Only after the moving party

has established that the discovery sought appears to be relevant and designed to further the

resolution of the action, does the burden shift to the responding party to establish that the

objections stated are proper and the production should not be permitted. 15

B.        State Farm Properly Objected to Plaintiffs’ Overbroad Discovery Requests
          6.      A number of Plaintiffs’ requests are irrelevant, overbroad, and are not reasonably

tailored to the claims and defenses in this litigation. Plaintiffs demand information regarding

other claims, properties, and insureds; institutional information such as training materials and

indemnity agreements; and irrelevant information such as employee personnel files.                  The

Southern District of Texas and the Texas Supreme Court have repeatedly rejected such

overbroad discovery in similar insurance disputes, and this Court should do the same here.
          7.      For example, in Dizdar I, the Southern District of Texas granted State Farm

protection from a number of overbroad, irrelevant discovery requests. As the Court explained in

rejecting Plaintiffs’ proffered rationale for their overbroad requests—their unsupported theory

that State Farm engaged in a conspiracy to undervalue claims—“Plaintiffs are not permitted to

abuse the discovery process to hunt for evidence of a conspiracy theory that goes well beyond

the claims at issue in this case.” 16

13
  Bettis v. Hall, No. 10-2457-JAR, 2015 WL 1268014, at *1 (D. Kan. Mar. 19, 2015). Cf. Presbyterian
Manors, Inc. v. Simplex Grinnell, LP, No. 09-2656-KHV, 2010 WL 3880027, at *7 (D. Kan. Sept. 28,
2010) (“when relevancy is not readily apparent, the proponent has the burden of showing the relevancy of
the discovery request”).
14
  Hill v. Auto Owners Insurance Co., No. 14-CV-05037-KES, 2015 WL 1280016, at *7 (D.S.D. Mar. 20,
2015).
15
   See Allstate Ins. Co. v. Plambeck, D.C., No. 3-08-CV-0388-M, 2008 WL 5411435, at *1 (N.D. Tex.
Dec. 29, 2008) (once the party seeking discovery meets the “threshold burden” of showing that the
“documents requested are within the scope of permissible discovery, the burden shifts to [the opponent of
discovery] to show why discovery should not be permitted.”)
16
     Dizdar I, App022.



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           8.      The Court further concluded that Plaintiffs could not “fish into unrelated third-

party matters because that information cannot reasonably support whether Plaintiffs’ claims were

undervalued.       Even if Plaintiffs were able to establish an ostensible pattern or practice of

undervaluation of claims in the Rio Grande Valley, it would not prove that this individual claim

was undervalued.” 17

           9.      Similarly, in In re National Lloyds Insurance Company, a case described by the

Southern District of Texas as “strikingly similar” to Dizdar I, 18 the Texas Supreme Court held

that the trial court abused its discretion when it ordered an insurer to produce the same kind of

expansive discovery Plaintiffs seek here. 19 The trial court had ordered the production of claim
files of other insureds’ homes that were adjusted by the same adjusters who handled the

plaintiff’s claims, limited to claims arising out of the same storms that damaged the plaintiff’s

house and from the same geographical area. Even with these limitations, however, the Texas

Supreme Court held that the claim files of other insureds were not discoverable. The court

“fail[ed] to see how National Lloyds’ overpayment, underpayment, or proper payment of the

claims of unrelated third parties is probative of its conduct with respect to [plaintiff’s]

undervaluation of claims at issue in this case.” 20

           10.     Although Plaintiffs may argue the evidence of State Farm’s handling of other

claims goes to a general business practice, routine, or habit of State Farm, they cannot

demonstrate how State Farm’s alleged “habit” makes it more or less likely that (a) Plaintiffs’

property sustained damage; (b) the alleged damage was caused by a covered peril; or (c) State

Farm committed bad faith. Even if an insurer is found to have acted in bad faith in one case, it

does not follow that it did so in any other case. In each case, a plaintiff must show the insurer’s


17
     Id. at 012.
18
     Id.
19
     In re Nat’l Lloyds Ins. Co., 449 S.W.3d 486 (Tex. 2014) (per curiam).
20
     Id. at 489.



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conduct as to that particular plaintiff was improper. As the Texas Supreme Court explained,

“[s]couring [other] claim files in hopes of finding similarly situated claimants whose claims were

evaluated differently from [plaintiff’s] is at best an impermissible fishing expedition” and is not

“reasonably calculated to lead to the discovery of” relevant evidence. 21

           11.     Plaintiffs’ irrelevant and overly broad discovery is also particularly unreasonable

in this case given the relatively low amount in dispute. Plaintiffs have designated as an expert

witness Kevin Mohr, a public adjuster who produced as his expert report an estimate of the

alleged damages to Plaintiffs’ property. 22 The total amount of Mohr’s estimate is $30,362.63.23

At the time the claim was originally adjusted, State Farm’s claim representative, Dion McKinley,

generated an estimate of the damage to the property in the amount of $2,699.35. 24 In other
words, the total amount of the contract dispute in this case is only $27,663.28. Plaintiffs’

requests thus violate the principle of proportionality set out in Federal Rule of Civil Procedure

26(b)(2)(C)(iii) and are inappropriate given the “needs of the case” and “the amount in

controversy.” 25

           12.     In light of the above, discovery here should be limited to and address only

whether Plaintiffs’ property sustained covered damage and, if so, whether the claim was timely

and properly adjusted and paid by State Farm. Plaintiffs’ request for discovery beyond what is

required to answer these questions is nothing more than an attempt by Plaintiffs “to engage in an




21
     Id. (internal quotation marks omitted).
22
     Estimate prepared by Kevin Mohr dated February 1, 2015, App106-123.
23
     App120.
24
     State Farm Estimate dated August 9, 2012, App127.
25
   Notably, Plaintiffs here are represented by the same counsel as numerous other plaintiffs with lawsuits
pending both in this district and in state court involving individual wind/hail insurance claims. Their
counsel routinely makes the same broad, generic allegations of bad faith and seeks the same discovery in
all of his cases, regardless of the specific facts of each case. Such boilerplate allegations and template
discovery requests, easily produced with only a few computer key strokes, are inappropriate.



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unwieldy, burdensome, and speculative fishing expedition.” 26 Accordingly, and as set forth

below, the Court should deny Plaintiffs’ Motion to compel further discovery responses.

                    1.       RFP 4: Training, Instructional, and Educational Materials
           13.      Plaintiffs demand “[a]ll documents used to instruct, advise, guide, inform,

educate, or assist provided to any person handling the claim made the basis of this Lawsuit that

related to the adjustment of this type of claim, i.e., hail property damage.” 27 According to

Plaintiffs, this request includes, but is not limited to, the following materials: Catastrophe

Wind/Hail Study Guide, Fire IA Training Estimatics Study Guide, Power Point Presentation on

the handling of claims for hail damage, Hail Training Module 1- General Overview of handling

of a hail claim, Catastrophe Basic Estimating Proficiency Exam, and HO Policy Exam with

Answers. 28       However, there are no factually supported allegations that the adjusters were not

trained properly by State Farm, that the adjusters did not follow the training they were given, or

even that they were trained with any of the requested materials. Accordingly, these materials are

irrelevant and the request is overbroad. As one Texas Court of Appeals said, overbroad requests

for training materials are “precisely the sort of fishing expedition that harvests vast amounts of

tenuous information along with the pertinent information that was used in adjusting [Plaintiffs’]

claim.” 29

           14.      Moreover, because insurance claims adjusters are licensed in the State of Texas,30

any training materials are irrelevant. To be a licensed claims adjuster in Texas, a person must

take and pass an examination testing the qualifications, competency, duties, and responsibilities


26
  Crosby v. Louisiana Health Serv. & Indem. Co., 647 F.3d 258, 264 (5th Cir. 2011) (internal quotes
omitted).
27
     Request for Production No. 4, Pls.’ Appendix, Dkt. 41-1, Ex. A thereto at 12.
28
     Pls.’ Br., Dkt. 42, ¶ 25.
29
  In re GMAC Direct Ins. Co., No. 09-10-00493-CV, 2010 WL 5550672 at *1 (Tex. App.—Beaumont
Dec. 30, 2010, no pet.) (per curiam) (mem. op.); see also Nat’l Lloyds, 449 S.W.3d at 489-90.
30
     See Tex. Ins. Code § 4101.051.



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of an adjuster. 31 The State of Texas only licenses adjusters who have established that they have

sufficient experience or training with regard to claims handling. 32 Therefore, the amount, if any,

of additional training given to insurance claims adjusters by State Farm is irrelevant and the

information is not reasonably calculated to lead to the discovery of admissible evidence.

          15.     But even if training materials and claims handling guidelines were relevant as a

general matter, the only materials that would be potentially relevant here are those pertinent to

the June 13, 2012 storm at issue that were used by or available to Dion McKinley. 33 Those

documents speak for themselves. Any materials that predate the storm at issue, or relate to other

areas of the state that were not impacted by the storm at issue, are of no consequence.

          16.     In addition to the problems of over-breadth and irrelevance noted above, Request

for Production No. 4 is also unduly burdensome. While Plaintiffs assert that State Farm would

not be unduly burdened by the production of certain documents which State Farm has already

produced in other litigation, this overbroad request calls for far more than the documents

Plaintiffs specifically identify—as Plaintiffs themselves concede. 34 Request for Production No.
4 essentially demands every claim handling policy/procedure document related to property

damage claims in Texas, which would be extremely onerous to have to gather and produce.

And the request could call for more than centrally-maintained, formal training materials; it could

include every document that might conceivably be considered to constitute a policy, procedure,

manual, practice, rule, custom, communication, or other document that relates to the handling of

wind or hail claims.        As a result, Plaintiffs’ request potentially requires a search for and

production of, for example, all e-mails exchanged between hundreds of State Farm employees or



31
     See Tex. Ins. Code § 4101.054.
32
     See Tex. Ins. Code § 4101.053.
33
     See Nat’l Lloyds, 449 S.W.3d at 489.
34
  See Pls.’ Br., Dkt. 42 ¶ 25 (the training materials Plaintiffs seek “include but are not limited to” specific
documents.)


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associates located throughout the United States, at any point during the past decade or more. 35

Such a request is not even remotely, much less reasonably, tailored to the issues in this suit.

           17.      Requests for claims handling and training materials similar to those propounded

in this case have been rejected by other courts, and should be rejected here. For example, in In

re Fire Insurance Exchange, a first-party homeowner’s insurance dispute, the Texas appellate

court held that similar training requests which “cover all of Texas” were not narrowly tailored

the claim at issue. 36 Notably, Plaintiffs’ counsel in this matter was also counsel in In re Fire

Insurance Exchange.

           18.      Although Plaintiffs claim that Magistrate Judge Ramirez “overruled Defendant’s

objections and ordered Defendant to produce documents responsive to an identical request,” 37
that is not a complete statement of what occurred in the case to which Plaintiffs refer. In Cano v.

State Farm Lloyds, No. 3:14-cv-02720-L (N.D. Tex.), the plaintiffs, represented by Plaintiffs’

counsel here, filed a similar Motion to Compel and Motion to Strike, demanding that all of State

Farm’s objections be overruled, that State Farm produce discovery in response to a number of

requests, and that the Court require compliance with their proposed Production Protocol. 38

However, following an order directing a face-to-face conference, 39 Plaintiffs withdrew all of

their demands except for two requests for production, which they significantly narrowed. 40

Plaintiffs narrowed Request for Production No. 4 from seeking “all documents,” provided to

35
    Because Request for Production No. 4 is ambiguous and facially overbroad, a more precise
computation of the burden required for compliance is unnecessary. See In re Sears, Roebuck and Co.,
146 S.W.3d 328, 333 (Tex. App. – Beaumont 2004, no pet.) (per curiam) (“Until the requests are
narrowly tailored . . . the viability of any objection based on privilege, confidentiality, or burden cannot
be determined.”) State Farm reserves the right to submit evidentiary support for the burdensomeness of
this request if Plaintiffs attempt to narrow its scope.
36
  No. 09-04-301-CV, 2004 WL 2113037, at *2 (Tex. App.—Beaumont Sept. 23, 2004, no pet.) (per
curiam).
37
     Pls.’ Br., Dkt. 42 ¶ 25.
38
     See Cano et al. v. State Farm Lloyds et al., 3:14-cv-02720-L, Dkt. 39 (N.D. Tex. May 4, 2015).
39
     Cano et al. v. State Farm Lloyds et al., 3:14-cv-02720-L, Dkt. 41 (N.D. Tex. May 7, 2015).
40
     App003-008.



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“any person handling the claim,” for all time, to only seeking course materials from courses

identified in one adjuster’s training tracker for a period of one year. 41 It was this narrowed

request that Magistrate Judge Ramirez approved in a brief order, without opinion. Notably, none

of the materials listed in paragraph 25 of Plaintiffs’ Motion, which Plaintiffs claim “are

responsive to this Request for Production,” were produced in the Cano case. Although State

Farm respectfully disagrees with the decision to compel even limited training discovery, it is

disingenuous to suggest that Magistrate Judge Ramirez’s decision would authorize the discovery

requested here.

            19.     The only other Texas case that Plaintiffs cite, State Farm Mut. Auto. Ins. Co. v.

Engelke, 824 S.W.2d 747 (Tex. App.—Houston [1st Dist.] 1992, no writ), is readily

distinguishable. The Engelke decision merely found no abuse of discretion when the trial court

ordered compliance with one production request that was limited by agreement to materials in

effect on one specific date when a medical examination was conducted. Id. at 753. Here,

Plaintiffs have propounded an unlimited request that seeks information completely unrelated to

the claim at issue. Accordingly, Plaintiffs’ request exceeds the scope of permissible discovery.

                    2.       RFP 1: Underwriting Files
            20.     Plaintiffs demand “underwriting files and documents relating to the underwriting

for all insurance policies for the Property identified in the Petition. This request is limited to the

past 5 years. To the extent Defendant contends that the underwriting file or documents older

than 5 years impact the damages or coverage, produce that underwriting file or document.”42

However, Plaintiffs have not offered any explanation for why such documents are relevant

beyond the purely conclusory statement that “[t]his request for production is relevant to the

subject matter making the basis of this lawsuit.” 43 It is not.


41
     Id. at 4.
42
     Request for Production No. 1, Pls.’ Appendix, Dkt. 41-1, Ex. A thereto at 12.
43
     Pls.’ Br., Dkt. 42, at 12.



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           21.      Plaintiffs’ request is overbroad because it is not limited to the policy at issue and

it demands irrelevant materials.          Underwriting relates to an insurer’s decision to provide

insurance, including issues such as risk assessment and premium setting, but there are no

allegations questioning the validity of the issuance of the policy or the meaning of the policy’s

terms. It is undisputed that Plaintiffs’ policy was underwritten and in force at the time of the

loss. Thus, underwriting materials are generally irrelevant to the claims at issue. For example,

in Milinazzo v. State Farm Insurance Co., the court denied discovery of underwriting files,

noting that the plaintiff had not alleged an ambiguity in the contract language. 44 The court

further explained that “[a]n insurer’s decision to issue insurance is distinct from an insurer’s

decision to deny a claim.” 45 The same result is warranted here. To the extent Plaintiffs desire a
specific subset of underwriting materials because they believe them to be relevant to issues in

this case, their request should be narrowly tailored to encompass just those materials.

           22.      Although Plaintiffs claim that Magistrate Judge Ramirez “overruled Defendant’s

objections and ordered Defendant to produce documents responsive to an identical request,” 46

that is again not entirely accurate. As noted in Section II.B.1, supra, the plaintiffs in that case

significantly narrowed two of the discovery requests, which they submitted for the Court’s

consideration.        Plaintiffs narrowed Request for Production No. 1 from seeking documents

beyond the past five years to a period of less than two years. 47 It was this narrowed request that

Magistrate Judge Ramirez approved in a brief order, without opinion. Although State Farm

respectfully disagrees with the decision to compel even limited underwriting discovery, it is

disingenuous to suggest that Magistrate Judge Ramirez’s decision would authorize the discovery


44
     247 F.R.D. 691, 702 (S.D. Fla. 2007).
45
  Id. See also Johnson v. Geico Gen. Ins. Co., No. 07-80310-CIV, 2007 WL 3344253, at *3 (S.D. Fla.
Nov. 7, 2007), aff'd, 318 Fed. App’x 847 (11th Cir. 2009) (denying underwriting discovery in bad faith
insurance action, noting that “the underwriting file itself does not contain relevant information.”)
46
     Pls.’ Br., Dkt. 42, at 12.
47
     App003.


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requested here.

                   3.      RFP 5: Personnel Files
           23.     Plaintiffs demand:
           A complete copy the [sic] personnel file related to performance (excluding medical and
           retirement information) for all people and their managers and/or supervisors who directly
           handled the claim made the basis of this Lawsuit, including all documents relating to
           applications for employment, former and current resumes, last known address, job title,
           job descriptions, reviews, evaluations, and all drafts or versions of requested documents.
           This request is limited to the past 5 years. 48
           24.     This request seeks information irrelevant to Plaintiffs’ claims. Plaintiffs have not

pled any facts in their Petition to support a claim that an adjuster, manager, or supervisor acted in
contravention of his or her proper duties, or that the dispute between the parties would somehow

be more easily or readily resolved if Plaintiffs were allowed to subject the adjusters, managers,

or supervisors to such an unreasonable invasion of their personal and privacy rights.

           25.     Moreover, Plaintiffs’ claims against State Farm are based on alleged Texas

Insurance Code violations, breach of contract, and breach of the duty of good faith and fair

dealing. None of these claims raise as an issue the adjusters’ or their managers’ and supervisors’

past histories as employees, especially when considering the breadth of this request. Notably,

the Southern District of Texas rejected an identical request. In Dizdar I, the court explained that

“the ostensibly appropriate grounds for this request – that [the adjuster] was improperly trained

and failed to perform a satisfactory evaluation – does not support the overly broad nature of the

request.” 49 According to the court, it was unclear how documents, including drafts, relating to
employment applications, former and current resumes, last known addresses, and job titles would

shed light on the defendant adjuster’s “alleged failures that Plaintiffs contend underpin deceptive

insurance practices.” 50


48
     See Request for Production No. 5, Pls.’ Appendix, Dkt. 41-1, Ex. A thereto at 12.
49
     Dizdar I, App026.
50
     Id.



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                   4.      RFP 7: Pre-anticipation of Litigation Reserve(s)
           26.     Plaintiffs demand “[a]ll documents reflecting the pre-anticipation of litigation

reserve(s) set on the claim made the basis of this Lawsuit, including any changes to the

reserve(s) along with any supporting documentation.” 51 However, any pre-litigation reserves set
by State Farm are wholly irrelevant to the question of whether State Farm properly adjusted

Plaintiffs’ insurance claim. As the Southern District of Texas explained in sustaining State

Farm’s objection to this request, “Plaintiffs do not, and in fact cannot, assert a causal connection

between State Farm paying less than the maximum amount set aside and State Farm acting in

bad faith. In fact, the Court can conjecture many scenarios where paying a fraction of the initial

value would not be evidence of Defendant’s bad faith insurance practices to counter Plaintiffs’

conjecture to the contrary. Therefore, discovery of this information is not actually related to the

claims at issue and Defendants’ objection is sustained.” 52

                   5.      RFP 12: Indemnity Agreements
           27.     Plaintiffs demand “[a]ll indemnity agreements in effect at the time of Plaintiffs’

claim between Defendant and any person(s) and/or entity(ies) who handled the claim made the

basis of the Lawsuit.” 53 Plaintiffs claim that this request is appropriate because “[i]ndemnity
agreements are clearly discoverable under Rule 26,” which provides for the discovery of “any

insurance agreement under which an insurance business may be liable to satisfy all or part of a

possible judgment in the action or to indemnify or reimburse for payments made to satisfy the

judgment.” 54       But Plaintiffs erroneously conflate the inclusion of a limited exception to

traditional discovery rules with a determination that indemnity agreements are generally relevant.

As the Advisory Committee’s Note to the 1970 Amendments make clear, the provision for

discovery of a certain subset of indemnity or insurance agreements was added in order to

51
     Request for Production No. 7, Pls.’ Appendix, Dkt. 41-1, Ex. A thereto at 13.
52
     Dizdar I, App028-029 (emphasis original).
53
     Request for Production No. 12, Pls.’ Appendix, Dkt. 41-1, Ex. A thereto at 13.
54
     Pls.’ Br., Dkt. 42, at 14 and n.18 (quoting FED. R. CIV. P. 26(a)(1)(A)(iv)) (misquote corrected).



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facilitate settlement, even where such agreements would not be independently relevant. But

because this exception is designed to facilitate settlement, it is by its terms expressly limited to

agreements which could apply to the satisfaction of a judgment in the case at issue. Plaintiffs’

request is not so limited, seeking indemnity agreements in effect at the time of Plaintiffs’ claim

between State Farm and any person or entity which handled Plaintiffs’ claim. Accordingly,

Plaintiffs’ request is overbroad and seeks irrelevant information, including agreements that only

pertain to other claims.

C.       State Farm’s Proposal to Produce in Reasonably Usable Formats Complies with the
         Federal Rules of Civil Procedure
         28.   Plaintiffs’ Production Protocol attempts to impose numerous obligations on State

Farm regarding the production of electronically-stored information (“ESI”) that exceed the

requirements of the Federal Rules of Civil Procedure.           Plaintiffs’ Production Protocol (a)

improperly imposes specific production formats on State Farm; (b) makes the facially overbroad

demand that State Farm produce irrelevant metadata; and (c) is not proportional to the needs of

this case. State Farm should be allowed to produce in “reasonably usable” formats rather than

being saddled with the unnecessary and onerous provisions of Plaintiffs’ intrusive Production

Protocol.

               1.      Producing Reasonably Usable ESI in Compliance with its Obligations
                       under Fed. R. Civ. P. 34(b)
         29.   Plaintiffs’ Production Protocol specifically demands that Defendants produce ESI

in native, near-native, or delimited electronic file formats. 55 Federal law, however, does not

require that Defendants produce in such formats. Defendants objected to Plaintiffs’ defined

terms because they are vague and ambiguous, seek irrelevant information, and are not




55
   See Pls.’ Appendix, Dkt. 41-1, Ex. A thereto, at 003-007. Plaintiffs’ Production Protocol also
improperly seeks to impose requirements on State Farm regarding the production of color, redaction and
load files.



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proportional to the fair adjudication of the claims at issue.            Defendants also objected 56 to

paragraphs 1, 2, 3, 4, 5, 6, 8, 10, 11, 12, 14, and 16 of Plaintiffs’ Production Protocol on the

grounds that Plaintiffs’ instructions exceed the requirements of the law. Defendants’ objections

were specific and proper. 57 Nothing in Rule 34(b) mandates the native format or delimited text

file 58 productions that Plaintiffs seek. Plaintiffs’ approach is simply unnecessary, and in many

ways unworkable.

           30.     The Federal Rules set forth two production formats for ESI—a form or forms in

which it is “ordinarily maintained” or in a “reasonably usable” form or forms. 59 The Rule 34(b)
mechanics and standards for considering the form of production for responsive ESI state that a

requesting party “may specify the form or forms in which electronically stored information is to

be produced.” 60 The responding party may state an objection to the requested form and “must

state the form or forms it intends to use.” 61 The Committee Notes from the 2006 Amendment to

Rule 34 explain that:

           If the requesting party is not satisfied with the form stated by the responding
           party, or if the responding party has objected to the form specified by the
           requesting party, the parties must meet and confer under Rule 37(a)(2)(B) in an
           effort to resolve the matter before the requesting party can file a motion to
           compel. If [the parties] cannot agree and the court resolves the dispute, the court
           is not limited to the forms initially chosen by the requesting party, stated by the

56
  Rule 34 does not limit the form of the objection that can be made by the responding party. Defendants
objected to Plaintiffs’ assumptions that they maintain ESI in a single format, that they maintain all ESI in
native format, and that Plaintiffs’ demands direct Defendants to undertake efforts that exceed the
requirements of Federal Rules of Civil Procedure 26 and 34.
57
  See gen., Dizdar I, App036 (in weighing Plaintiffs’ need for metadata (in the form of native and near
native format files), against the burdens it would impose on Defendants, the court found that “[t]he
information Plaintiffs request from the native format does not fall within the appropriate scope of
discovery . . . [and t]herefore any burden incurred by Defendants in producing the information in ‘native’
or ‘near native’ format is too much.”).
58
  A delimited electronic format is a means of extracting data from a database. State Farm instead relies
on its standard database reports to produce information in a user-friendly format. See ¶ 38 infra.
59
     FED. R. CIV. P. 34(b)(2)(E)(ii).
60
     FED. R. CIV. P. 34(b)(1)(C).
61
     FED. R. CIV. P. 34(b)(2)(D).



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          responding party, or specified in this rule for situations in which there is no court
          order or party agreement.”
          If the form of production is not specified by party agreement or court order, the
          responding party must produce electronically stored information either in a form
          or forms in which it is ordinarily maintained or in a form or forms that are
          reasonably usable. 62
When Rule 34 was amended in 2006, the drafters specifically referenced “reasonably usable”

formats to ensure that producing parties had sufficient flexibility regarding the format of

production. 63 Thus, Rule 34 clearly allows State Farm to produce ESI in the “reasonably usable”

searchable static image formats 64 it offered Plaintiffs. 65 Courts, experts, and common sense

confirm that searchable static images (e.g., TIFF and PDF) are an acceptable format for

production of documents.         Indeed, case law from across the nation not only confirms the

widespread adoption, but also the preference, for searchable static image production. 66 For

62
     U.S. Congress House Doc., 109th Cong., 2d sess., No. 105-109, App055.
63
  Indeed, during the rule-making process the proposed amendment to the rule was modified to ensure that
the “ordinarily maintained” language was not used as a cudgel to require “native” file production. See
App044-045 (amendment of Rule 34(b) to include “reasonably usable form” meant to address, inter alia,
concerns that “‘electronically searchable form’ might exert pressure for ‘native format’ production”).
64
  Herein defined to refer to PDF and TIFF static image formats made searchable via delivery of
embedded text (PDF) or OCR.
65
   In fact, the Committee Notes to the Rule 34 2006 Amendment observes that the published default
[ordinarily maintained or reasonably usable] would authorize production in a minimally searchable form
even though more easily searched forms might be available at equal or less cost to the responding party.
FED. R. CIV. P. 34 advisory committee’s note (2006 Amendment). See also Seabron v. Am. Fam. Mut.
Ins. Co., 862 F. Supp. 2d 1149, 1160 (D. Colo. 2012) (citing the Comment to the 2006 Amendment to the
Federal Rules of Civil Procedure); S2 Automation LLC v. Micron Tech., Inc., No. CIV 11-0884, 2012 WL
3656454, at *19 (D.N.M. Aug. 9, 2012) (same).
66
  See Race Tires Am., Inc. v. Hoosier Racing Tire Corp., 674 F.3d 158, 161 n.2 (3d Cir. 2012) (“Tagged
Image File Format (‘TIFF’) is [a] widely used and supported graphic file format[] for storing bit-mapped
images”) (quoting the Sedona Conference Glossary); In re Priceline.com Inc. Sec. Litig., 233 F.R.D. 88,
91 (D. Conn. 2005) (“TIFF or PDF format is the most secure format for the production of documents in
this case. Given the sheer volume of information flowing from defendants to plaintiffs, the information
should be conveyed as numbered images so that no inadvertent alterations are made, or more likely, no
accusations of alteration can be made, and so that the information can be easily identified. Exceptions to
this directive, however, may be applied for should production of a file in its native format be necessary to
view or comprehend the information in the file.”); Wyeth v. Impax Labs., Inc., 248 F.R.D. 169, 171 (D.
Del. 2006) (ruling that the plaintiff was not required to produce ESI in its native format, where plaintiff
produced documents as image files, and defendant failed to demonstrate particularized need for
metadata.); Ojeda-Sanchez v. Bland Farms, LLC, No. CV608-096, 2009 WL 2365976, at *3 (S.D. Ga.


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example, in Seabron, the court specifically dealt with a dispute over the format of documents to

be produced where the requesting party sought a native format production but the responding

party objected and offered to produce in searchable TIFF/PDF format. 67                 In holding that

production should be made in TIFF format, the court reasoned:

          There are two primary considerations in choosing the form of production: (1) the
          need for, or probative value of both apparent and metadata; and (2) the extent to
          which the production of metadata will enhance the functional utility of the
          electronic information produced and allow the parties to conduct a more cost-
          effective and efficient review. These considerations should be weighed against
          the negative aspects associated with each format.

          In current practice, many parties, local rules and courts have endorsed the
          use of image production formats, principally the Tagged Image File Format
          (TIFF) and Adobe Portable Document Format (PDF).
Id. 68
          Reasonably usable forms of ESI provide both parties equal ability to review the probative

facts in the matter, taking into consideration the facts of the case and the needs of the parties. 69

          31.     In accordance with Rule 34, Defendants objected to Plaintiffs’ requested formats

and informed Plaintiffs that Defendants would produce responsive, non-privileged ESI in

reasonably usable formats.         The appropriateness of State Farm’s decision to produce in

searchable static image formats is also supported by the clear conclusions of recognized expert

Timothy M. Opsitnick. 70 Mr. Opsitnick states that production of searchable static image formats

July 31, 2009) (noting “general trend” that the party seeking native format show a “particularized need”);
Ky. Speedway, LLC v. Nat’l Ass’n of Stock Car Auto Racing, Inc., No. Civ. A. 05-138-WOB, 2006 WL
5097354, at *8 (E.D. Ky. Dec. 18, 2006) (finding a general presumption against production of metadata
and holding that its production was not warranted absent a more particularized showing of need).
67
     862 F. Supp. 2d at 1161-62.
68
  Id. (citing The Sedona Principles: Best Practices Recommendations and Principles for Addressing
Electronic Document Production (“The Sedona Principles”) Principal 12 Cmt. 12.a and 12.b, at 60 (2d.
ed. 2007))68 (internal citations omitted) (emphasis added).
69
   See, e.g., Ajaxo Inc. v. Bank of America Tech. and Operations, Inc., No. CIV-S-07-0945, 2008 WL
5101451, at *1, n. 1 (E.D. Cal. Dec. 2, 2008) (holding that an objection to a production format request
“may be sustained or overruled by a court”); S2 Automation LLC, 2012 WL 3656454, at *18 (instructing
that “[t]he responding party also is involved in determining the form of production”).
70
     Declaration of Timothy M. Opsitnick, App067-69 (¶¶ 25, 27).


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is an ordinary, customary, and accepted practice. 71 Mr. Opsitnick further states that the proposed

approach to database productions is in line with his experience and standards set by well-known

best practices organizations such as The Sedona Conference. 72

          32.     Common sense also supports State Farm’s approach. Insurance claims litigation

such as this involves a relatively small number of documents to address the threshold issue of

whether State Farm underpaid Plaintiffs’ insurance claim. State Farm’s proposed production

format of searchable static images will enable plaintiffs to quickly review the probative facts

they require for purposes of determining whether there is evidence that supports their allegations.

The production of searchable static image formats will also allow State Farm to easily add Bates

numbers to each page, as well as confidentiality legends as appropriate. 73 Finally, searchable
static image formats permit the parties to easily print and use the documents in depositions, in

motions and at hearings and trial, without needing to worry about conversions from “native” or

“near native” or formats. 74

          33.     Production in searchable static image format meets Defendants’ production

obligations, searchable static images are highly reliable and functional, and there is neither the

need nor a reason to compel State Farm to produce anything else. 75

                  2.      Plaintiffs’ Request for Irrelevant Metadata Is Facially Overbroad.
          34.     Plaintiffs demand that Defendants produce metadata associated with native

formats is neither necessary nor proportional for purposes of assuring the fair and efficient

71
     App075 (¶¶ 36-37).
72
     App069, 074-075 (¶¶ 27 d, 35).
73
     App069 (¶ 26).
74
   Native file productions mandate “work-arounds” to address the fact that Bates stamps and
Confidentiality legends cannot be applied using existing standard processes for TIFF and PDF files (e.g.,
everything from a convention for changing file names, resulting in the need to deliver the original file
name in a load file, to establishing a protocol to ensure that each time a native file is printed the
appropriate Bates numbers and Confidentiality legends will appear on the hard copy). (See App067 at
¶ 26.)
75
     App071 (¶ 29).



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adjudication of her claim. 76 Metadata generally describes how, when, and by whom ESI is

created, accessed, or modified. 77 Metadata may be “discoverable if it is relevant to the claim or

defense of any party and is not privileged.” 78 Here, Plaintiffs’ demand for a broad swath of

metadata is facially overbroad and irrelevant to the adjudication of this matter. 79 In Covad VI,

the requesting party moved the court to order the responding party to produce the ESI for over

two thousand documents that were originally produced in paper form because the paper lacked

metadata. 80 Magistrate Judge John Facciola rejected this argument, and found that production of

native ESI was not required in order for the information to be reasonably usable because the

requesting party “[did] not offer a word as to why it needs native format . . . . There is no

question presented . . . that only the metadata can answer.” 81
           35.    Plaintiffs in this case has failed altogether to demonstrate the relevance of the

requested metadata and thus is not entitled to its production. 82 Metadata need not be produced,

merely for the convenience of the receiving party. That is particularly true because much




76
  Discovery that is not targeted at illuminating the facts of the case is disproportionate. Batson, 112
F.R.D. at 642. See fn. 10 supra.
77
  See generally, The Sedona Conference Commentary on Ethics & Metadata, August 2013 at 1, and The
Sedona Conference Principles, Best Practices Recommendations & Principles for Addressing Document
Production, 2d. Ed., July 2007 at 3, 4.
78
     Aguilar v. ICE Div. of U.S. Dept. of Homeland Sec., 255 F.R.D. 350, 355 (S.D.N.Y. 2008).
79
  See Covad Communications Co. v. Revonet, Inc., 267 F.R.D. 14 (D.D.C. 2010) (“Covad VI”) (finding
that native production was not required where it was not in the interest of judicial expediency).
80
     Id. at 20.
81
     Id.
82
   See gen., Dizdar I, App036 (finding in a very similar case that “[t]he information Plaintiffs request
from the native format does not fall within the appropriate scope of discovery. While there is ostensible a
benefit to Plaintiffs in knowing the formulas in an Excel sheet or the list of authors on a document, that
information is not relevant at all to the issues at hand, even the extra-contractual issues. Therefore any
burden incurred by Defendants in producing the information in ‘native’ or ‘near native’ format is too
much.”).



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“metadata lacks evidentiary value because it is not relevant.” 83 Given the nature of the claims,

the lack of importance of metadata to the resolution of the case, and the value of the case, the

burden that State Farm would incur to produce metadata is not proportional to the benefit, if any,

Plaintiffs will receive. The searchable static image formats produced by State Farm will provide

Plaintiffs the necessary information to litigate this case. 84

                  3.     Plaintiffs’ Demand for a Production Protocol is Disproportionate and
                         Unwarranted.
          36.     Plaintiffs’ unreasonable demands regarding production formats should be
overruled. Proportionality has long been a central tenant of the Federal Rules of Civil Procedure.

Even so, the issue of proportionality is the subject of renewed focus in light of the impending

amendment to Rule 26. 85 These pending amendments have brought attention to the fact that the
drafters have long envisioned that the principles of proportionality should be used to establish the

proper scope of discovery. 86 In light of that intent, the amendments that are scheduled to be put

in effect in December move the proportionality principle back into section 26(b)(1), which is

weighed by the following factors: “the importance of the issues at stake in the action, the

amount in controversy, the parties’ relative access to relevant information, the parties’ resources,

the importance of the discovery in resolving the issues, and whether the burden or expense of the

proposed discovery outweighs its likely benefit.” 87 Ultimately, Plaintiffs’ oppressive production


83
   Aguilar 255 F.R.D. at 354, (stating that system and application metadata is generally not needed in
discovery); see also Dizdar I, App034-036 (concluding metadata sought by plaintiffs was irrelevant and a
native file production was unwarranted); see also Covad VI, 267 F.R.D. at 20 (observing that “[t]here is
no question presented by [plaintiffs] that only metadata can answer,” and thus plaintiffs were not entitled
to the production of metadata.)
84
     See Dizdar I, App036.
85
     Emphasis added.
86
   The amendment of Rule 26(b) with regard to proportionality “does not change the existing
responsibilities of the court and the parties to consider proportionality.” June 2014 Advisory Committee
Report, supra note 8, at Appendix B-39.
87
  Note that all factors but “the parties’ relative access to relevant information” are currently incorporated
into Rule 26(b)(2)(C)(iii).



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protocol would violate the principles of proportionality, result in no benefit to Plaintiffs, and

increase the burden on State Farm. 88

           37.     First, there are unique burdens associated with the review and production of ESI

in “native” format. 89 For example, State Farm’s system of record for claims information is its

Enterprise Claims System (“ECS”).                This dynamic database includes fielded database

information as well as email, correspondence and photos all stored in static image format.90

State Farm will produce relevant, non-privileged ECS information in the searchable PDF that it

creates in the ordinary course of business expressly for litigation purposes. State Farm provides

information to its defense counsel in the same searchable PDFs to prepare its defenses. As

explained by Mr. Opsitnick, “the production of the native version of static image files stored in

ECS, would require State Farm to engineer a new process that includes determining upstream

sources of the data, validating the upstream sources, determining whether native files of the

information still exists, and developing an extraction method for the native versions.” 91 This
takes time, resources, and money, creates inefficiencies for the court, and will needlessly slow

the resolution of this case. The practical and substantial burdens and problems with “native” and

“near native” production formats “no matter what” cannot be ignored. 92

           38.     Second, Plaintiffs’ Production Protocol creates undue burden and expense


88
   App075-76. The Dizdar I court came to a similar conclusion, applying the same principle of
proportionality found in the Federal Rules of Civil Procedure. The Dizdar I court found, after reviewing
evidence similar to that in the record in this case, that State Farm had demonstrated compliance with the
request for a native format would impose a “substantial burden,” while Plaintiffs failed to demonstrate
they would receive any benefit from the native production. Dizdar I, App036. The court noted that
Plaintiffs would gain “all necessary information” from the format proffered by State Farm, and any
additional information provided by native format was “not relevant” to the issues at hand. Id.
89
  Principle 12 of The Sedona Principles notes that a “native” file production that includes a substantial
volume and variety of file types could become very expensive and burdensome for the requesting party.
Principal 12, at 60, available at https://thesedonaconference.org/download-pub/81.
90
     Affidavit of Ian Friedrich, App102 (¶ 8).
91
     App070 (¶ 27 e).
92
     App072 (¶ 31 a-b).



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because it requires State Farm to produce all documents in color. 93 State Farm’s collection and

maintenance of documents as black and white images is not surprising, as many documents may

have color—such as State Farm’s iconic red logo—that has no independent value. 94 Expending

extra efforts and costs to capture color regardless of need has no countervailing value, and the

absence of color does not affect the “reasonable utility” of the documents for discovery and

evidentiary purposes.

           39.    Third, Plaintiffs’ demand that State Farm use Adobe Acrobat to perform

redactions is unreasonable and burdensome. It is customary for a producing party to choose the

redaction tool it will use. 95 It is not feasible to use Adobe Acrobat on an enterprise level, as the
tool is only appropriate for a document by document approach. 96 Forcing State Farm to use

Adobe Acrobat would require the development and validation of new processes and workflows

to perform redactions 97 that are plainly disproportionate and altogether unwarranted given that

State Farm can use an industry standard redaction tool without incurring any additional costs.

           40.    Fourth,   Plaintiffs’   Production   Protocol   includes   elaborate   production

specifications regarding Bates numbering and load file delivery formats that fail to take into

account State Farm’s business process for tracking documents and delivering data in litigation.

           41.    Fifth, in order to comply with Plaintiffs’ oppressive protocol, State Farm would

be forced to re-engineer its processes for retrieving, storing, and producing relevant

non-privileged information. 98 State Farm’s reliance on developed and tested mechanisms should

not be lightly disregarded because these produce reasonably usable forms of ESI consistent with

the requirements of Federal Rule of Civil Procedure 34(b).

93
     App073-074 (¶ 31 e).
94
     Id.
95
     App073 (¶ 31 d).
96
     Id.
97
     Id.
98
     App071 (¶¶ 28-30).



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           42.    Sixth, State Farm will be required to expend additional time, resources, and

money if it is required to create new procedures to produce relevant information. 99 For example

State Farm already has a published business procedure that allows it to produce “claim file”

information from the ECS system for use in litigation in the standard searchable PDF format. 100

There simply is no alternative procedure that currently exists for generating the type of

information that Plaintiffs seek in their discovery requests. 101 Similarly, the Plaintiffs’ proposed

Production Protocol would require State Farm to undertake major process changes, re-

collections, and new productions. 102 Another example is State Farm’s long-standing business

process for routinely retrieving copies of commonly sought documents from a wide variety of

business departments and storing them centrally in an archive so they are readily available in a

single location when needed. 103 State Farm designed the archive to avoid the Sisyphean task of
endlessly identifying, collecting, and producing the same documents for multiple litigations over

and over again.          Plaintiffs’ demand that State Farm assume these significant burdens

notwithstanding the fact they would not gain any additional usability of the ESI is plainly

disproportionate to the matter. 104

           43.    Principle 6 of The Sedona Principles clearly states that “[r]esponding parties are

best situated to evaluate the procedures, methodologies, and technologies appropriate for . . .

producing their own electronically stored information.” 105 Principle 6 has stood for years and


99
     App070 (¶ 27 e).
100
      App103 (¶ 12).
101
      App070 (¶ 27 d).
102
   “[S]ince many databases are intended to be used as information repositories, the system may have been
designed solely with the ability for a user to add new data records or update existing records, with no
functionality included for the export of records in bulk.” Sedona Database Principles, Comment 2b, The
capability of exporting data. The ECS falls into this category of databases.
103
      App071 (¶ 28).
104
      App067 (¶ 24).
105
      The Sedona Principles at 38.



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remains an appropriate reflection of a fundamental presumption underlying state and federal

discovery procedures: a responding party has the right and responsibility to produce relevant

information within the boundaries of reasonableness and should be accorded deference in

meeting its responsibilities. 106 State Farm does not merely object to Plaintiffs’ demand for

native format or delimited electronic format productions of ESI, but has instead offered a

proportional alternative, reasonably usable formats. Ultimately, Plaintiffs’ un-tempered demand

for particular ESI formats cannot be substituted for State Farm’s choice of reasonably usable

forms of production.

           44.      Here State Farm has produced considerable evidence of the burdens it will sustain

under Plaintiffs’ proposed Production Protocol. The great weight of legal authority supports the

conclusion that the format requested should not control when the requested information can be

produced in another reasonably usable format. This conclusion is the axiomatic result of the

combined principles articulated by Rule 26(b)(2)(C) (proportionality), Rule 34(b) (reasonably

usable format) and the overarching Rule 1 (“to secure the just, speedy, and inexpensive

determination of every action and proceeding”). This is especially true in this first-party breach

of contract dispute. In short, the Court should set aside Plaintiffs’ onerous Production Protocol

and allow State Farm to produce documents and ESI in reasonably usable formats as allowed

under RULE 34(b).

D.         Privilege Log
           45.      Plaintiffs argue that State Farm has failed to provide a privilege log and that such

failure “results in waiver of the privileges asserted.” 107 However, the privilege log requirement

in Rule 26 only applies to information that is “otherwise discoverable.” 108 If “an objection is

106
   See, e.g., Ford Motor Co. v. Edgewood Props., Inc., 257 F.R.D. 418, 427 (D.N.J. 2009) (“The Sedona
Principles wisely state that it is, in fact, the producing party who is [sic] the best position to determine the
method by which they will collect documents.”).
107
      Pls.’ Br., Dkt. 42, at 15.
108
      FED. R. CIV. P. 26(b)(5)(A).



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made and that objection has not been ruled on, then the objected to documents are not yet

‘otherwise discoverable.’” 109 Thus, “if a party’s pending objections apply to allegedly privileged

documents, the party need not log the document until the court rules on its objections.”110

Accordingly, because State Farm has objected to Plaintiffs’ requests on other grounds, it would

be premature to require a privilege log. Once the Court rules on State Farm’s objections, State

Farm will submit a privilege log if necessary.

                                             PRAYER

          46.   State Farm pray this Honorable Court deny Plaintiffs’ Motion to Compel and

Motion to Strike irrelevant, overbroad, and unduly burdensome discovery, and allow State Farm

to produce documents and ESI in reasonably usable formats of its designation consistent with

Fed. R. Civ. P. 34(b), and for any other and further relief, at law or in equity, to which State

Farm shows itself justly entitled.




109
   Am. Soc'y For Prevention of Cruelty To Animals v. Ringling Bros. & Barnum & Bailey Circus, 233
F.R.D. 209, 212-13 (D.D.C. 2006).
110
   United States v. Philip Morris Inc., 314 F.3d 612, 621 (D.C. Cir. 2003), abrogated on other grounds
by Mohawk Indus., Inc. v. Carpenter, 558 U.S. 100 (2009); see also Grand River Enterprises Six Nations,
Ltd. v. King, No. 02 CIV.5068(JFK), 2009 WL 63461, at *3 (S.D.N.Y. Jan. 12, 2009) (“Defendants did
not have to complete their privilege logs while this objection was pending.”).



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                               CERTIFICATE OF SERVICE
        This is to certify that a true and correct copy of the foregoing document has been served
on all counsel of record in accordance with the Federal Rules of Civil Procedure on this 10th day
of November 2015.


                                             /s/ W. Neil Rambin
                                            W. NEIL RAMBIN




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